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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

IN RE:                                    :                In Proceedings for a
                                          :                Reorganization under
      W.R. Grace and Co., et. al.,        :                Chapter 11
                                          :
            Debtors.                      :                Jointly administered Under
_________________________________________ :                Case No. 01-1139 (JKF)

             NOTICE OF FILING OF RULE 2019 STATEMENT OF REPRESENTATION BY
                              HOBIN, SHINGLER & SIMON, LLP
                (EXHIBITS NOT SCANNED BUT ACCESSIBLE BY COURT ORDER)

      TO CREDITORS AND OTHER PARTIES IN INTEREST AND ALL PARTIES WHO HAVE
REQUESTED NOTICES PURSUANT TO FED.R.BANKR.P. 2002, NOTICE IS HEREBY GIVEN
THAT:

         Hobin, Shingler & Simon, LLP, in compliance with the October 22, 2004 Order of Court, has
filed its Statement pursuant to Fed.R.Bankr.P. 2019.

        Exhibits have not been scanned, but have been submitted to the Clerk of the Bankruptcy Court, at
the address set forth below, on compact disk (“CD”). Said exhibits may be accessed by parties who
obtain a Court order authorizing access.

                                                   Clerk
                                      United States Bankruptcy Court
                                           District of Delaware
                                            824 Market Street
                                         Wilmington, DE 19801

Dated: December 21, 2004                                   /s/Daniel K. Hogan
                                                           Daniel K. Hogan (DE #2814)
                                                           THE HOGAN FIRM
                                                           1311 Delaware Avenue
                                                           Wilmington, DE 19806
                                                           Telephone: 302-656-7540
                                                           Facsimile: 302-656-7599




NOTICE
12/20/2004
